                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE MIDDLE DISTRICT OF TENNESSEE

                                 NASHVILLE DIVISION


BRIAN P. MANOOKIAN,
                                               Civil Action No. 3:19-cv-00350
                           Plaintiff,
                                               Judge William L. Campbell, Jr.
                 vs.
                                               Magistrate Judge Alistair Newbern
FLOYD FLIPPIN et al.,

                           Defendants.


             MOTION REQUESTING LEAVE TO FILE SURREPLY
             IN OPPOSITION TO MOTION OF ALL DEFENDANTS
                        TO DISMISS COMPLAINT


      Plaintiff Brian Manookian moves the Court to grant him leave to file a

limited surreply to defendants’ reply (Dkt. No. 31) regarding their motion to dismiss

(Dkt. No. 23).

      The surreply requests that the Court not consider certain impermissible

factual assertions in defendants’ reply because those assertions lie outside the four

corners of the complaint. Local 18 Int’l Union of Operating Eng’rs v. Ohio

Contractors Ass’n, 644 F. App’x 388, 392–93 (6th Cir. 2016) (citing Tackett v. M & G

Polymers, USA, LLC, 561 F.3d 478, 487 (6th Cir. 2009)) (“[F]acts outside the

complaint’s pleadings are not properly considered in a 12(b)(6) ruling.”).



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      In particular, defendants’ reply includes the three unsupported factual

statements below attempting to exonerate certain unidentified defendants from

involvement in the matters of which Mr. Manookian’s lawsuit complains.

      •      Other than the chair of the Board, “[n]o other board member had any

      involvement with the initial temporary suspension.” Dkt. No. 31 at 2.

      •      “Five of the named defendants had no involvement with the temporary

      suspension or consideration of the Petitions for Dissolution.” Id. at 3.

      •      “The implication that the Tennessee Supreme Court acts irresponsibly

      at the behest of the Defendants, who, as demonstrated, were not even

      involved in the temporary suspension proceedings, should be completely

      disregarded.” Id. at 3 n.1.

      Because defendants first raised these assertions in their reply brief, Mr.

Manookian has no avenue by which to respond adequately other than a surreply.

See Key v. Shelby Cnty., 551 F. App’x 262, 265 (6th Cir. 2014) (“Although the

Federal Rules of Civil Procedure do not expressly permit the filing of sur-replies,

such filings may be allowed in the appropriate circumstances, especially ‘when new

submissions and/or arguments are included in a reply brief, and a nonmovant’s

ability to respond to the new evidence has been vitiated.’”) (quoting Seay v. Tenn.

Valley Auth., 339 F.3d 454, 481 (6th Cir. 2003)).

      Pursuant to this Court’s Local Rule 7.01, on November 19, 2019, David C.

Codell, counsel for Mr. Manookian, conferred by email with Talmage M. Watts,

counsel for all defendants, regarding the substance of this motion. On September

20, 2019, Mr. Watts informed Mr. Codell by email that defendants oppose the
motion and the relief requested.




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      For the reasons stated above and in the accompanying memorandum, Mr.

Manookian moves the Court for leave to file the simultaneously submitted surreply.

                                         Respectfully submitted,


Date: September 20, 2019                 /s/Aaron Gott
                                         Aaron Gott

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1.     Any attorney’s fee awarded to Mr. Manookian and earned by Mr. Horwitz
shall be donated to the First Amendment Center.



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                          CERTIFICATE OF SERVICE

      On the 20th of September 2019, I hereby certify that I caused a true and

correct copy of the Motion Requesting Leave to File Sur-Reply in Opposition

to Motion of All Defendants to Dismiss Complaint to be delivered via the

Court’s electronic filing system to all counsel who have consented to receive notice of

filings in the above-captioned matter.




                                                       Gabriela Hamilton




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